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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 RICHARD A. GORMAN,
                        Plaintiff,
                v.                                       CIVIL ACTION NO. 20-4759

 ILYA SHPETRIK,
                        Defendant.


                                             ORDER

       AND NOW, this 5th day of April 2022, upon consideration of Defendant’s unopposed

request for an extension of time to respond to Plaintiff’s Complaint (attached), it is hereby

ORDERED that the request is GRANTED. Defendant may file a response to the Complaint on

or before April 21, 2022.

       It is so ORDERED.

                                                          BY THE COURT:

                                                          /s/ Cynthia M. Rufe
                                                          _____________________
                                                          CYNTHIA M. RUFE, J.
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                                                                         Matthew Faranda-Diedrich
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                                                                         April 5, 2022

Via Email (Chambers_of_Judge_Cynthia_M_Rufe@paed.uscourts.gov)
Honorable Cynthia M. Rufe
12614 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106
Courtroom 12-A


      RE:       Richard A. Gorman v. Illya Shpetrik
                U.S. District Court for the Easter District of Pennsylvania, No. 2:20-cv-04759


Dear Judge Rufe,

Our office represents Defendant, Illya Shpetrik (“Defendant”) in the above-mentioned matter.
We write jointly on behalf of all parties to respectfully request an additional extension of time for
Defendant to Answer Plaintiff’s Complaint (Docket Entry #1) until April 21, 2022.

We thank Your Honor for the consideration.

                                                         Respectfully,




                                                         Matthew Faranda-Diedrich

MFD:dme

cc:    George Schooff, Esquire (via email schooff@legalservicesgrouppllc.com)
       Matthew J. Press, Esquire (via email mpress@presskoral.com)



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